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               NOTICE OF CLAIM-DISCLOSURE REQUEST-HOLD LETTER
  From: Yoel Weisshaus
        235 Milford Avenue 2E
        New Milford, NJ 07646
  To:    Port Authority of New York and New Jersey
         150 Greenwich Street
         New York, NY 10007


  To Whom This May Concern,
           PLEASE TAKE NOTICE, that Yoel Weisshaus has a claim against the Port Authority of
  New York and New Jersey and two of its employees, who are police officers and their identities
  are currently unknown to him. On January 16, 2019 at about 11:15 a.m., the aforementioned
  officers fabricated a charge falsely accusing Yoel Weisshaus of driving 55 MPH in a 25 MPH
  construction zone. The false charge was issued in the form of a complaint-summons No. 091-C-
  227717 to be answered in the Bayonne Municipal Court. At all relevant times, Yoel Weisshaus
  was following the speed limit and there was no probable cause to prosecute him. Upon
  information and belief, the two police officers brought the charge against Yoel Weisshaus to
  meet their quota in issuing summonses, in retaliation to Yoel Weisshaus’s activism against the
  toll prices imposed by the Port Authority, and/or in ill an effort to have the driver’s license of
  Yoel Weisshaus suspended. The basis for this belief is from statements the Port Authority of
  New York and New Jersey has made against Yoel Weisshaus.
           Yoel Weisshaus was forced to take time off from work, appear at the municipal court at
  four different occasions, and despite demanding discovery, the Port Authority and its two
  employees failed to substantiate their false charge and caused substantial damages. On April 16,
  2019, the Bayonne Municipal Court entered an order dismissing the false charge. The damages
  caused to Yoel Weisshaus are $2,500 in the representation by Christopher L. Patella; $920 in
  loss of employment for the four court appearances; and $2.50 parking meter costs. Yoel
  Weisshaus will pursue a claim for damages under any legal theory available at law to fully
  remedy his injury, including the legal theory of fraud, malicio us prosecution, and due process.
  Yoel Weisshaus will also pursue a demand for punitive damages and exemplary damages, as the
  fabrication of false charges undermines the integrity of policing.
          PLEASE TAKE NOTICE, pursuant to CPLR 1024 and N.J. Ct. R. R. 4:26-4 Yoel
  Weisshaus demands the full and complete legal names of the two police officers, employed by
  the Port Authority of New York and New Jersey, who participated in the fabrication and issuing
  of the complaint-summons No. 091-C-227717.
           PLEASE TAKE NOTICE and provide a copy of this notice of claim for anticipated
  litigation as a “hold letter” to any persons in the best positioned to implement a document hold
  with respect to the retention of paper files (i.e. personal notes, documents, data reports, etc.) and
  electronic evidence (i.e. Call recordings, communications with the dispatcher, video footage, text
  messages etc.) and to suspended the destruction of such evidence pending the judicial



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  determination of the aforementioned claims, including appellate review. Similarly, to the extent
  that the Port Authority of New York and New jersey employs any IT person or company to run
  and maintain the computer and other technology systems, please provide such IT person or
  company with a copy of this litigation hold letter as they—together with the custodians of
  potentially relevant evidence—to implement the hold (particularly in terms of any backup or
  deletion policies that need to be suspended, as described more fully herein). In particular, you
  must retain the following documents without exception:
        o        Any and all evidence that related to the incident alleged in the summons No. 091-
  C-227717, including inculpatory and exculpatory evidence;
          o      Speed and traffic log from EZ-Pass for the Bayonne Bridge for January 16, 2019
  on the hour of 11:00 a.m. through 11:30 a.m.;
         o       Footage of the surveillance of the entire Bayonne Bridge for January 16, 2019 on
  the hour of 11:00 a.m. through 11:30 a.m.;
         o       Video footage reordered by the portal car for January 16, 2019 on the hour of
  11:00 a.m. through 11:30 a.m.;
          o     The GPS log of the officers’ portal car for January 16, 2019 on the hour of 10:00
  a.m. through 11:30 a.m.;
        o        The names of the officers involved in the underlying summons No. 091-C-
  227717;
           o      The recording of the communication between the officers and the Dispatching
  unit such as the Computer Automated Dispatch reports and copies of dispatch tapes, video, and
  audio recordings in DVD or CD-Rom format, of MVR including copies of 911 or other recorded
  calls for January 16, 2019 on the hour of 10:00 a.m. through 11:45 a.m.;
         o       Rough/Field Notes of the incident;
           o       The log of the speed measuring device employed on January 16, 2019 on the hour
  of 10:00 a.m. through 11:30 a.m. including the radar and antenna certifications before and after
  the traffic stop;
         o      The name and model of the speed measuring device that was employed on
  January 16, 2019 on the hour of 10:00 a.m. through 11:30 p.m.;
         o       The officer(s) certification(s) to operate such speed measuring device on January
  16, 2019 on the hour of 10:00 a.m. through 11:30 a.m.;
         o      The reports of the officer tuning fork and certification of the speed measuring
  device conducted before and after the traffic stop;
          o      Speedometer test charts employed by the officers on January 16, 2019 on the hour
  of 10:00 a.m. through 11:30 a.m.;




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  Documents enclosed:


     1. Summons
     2. Retained of Christopher L. Patella,
     3. Discovery request
     4. Notice date 1-22-2019
     5. Notice date 2-5-2019
     6. Notice date 2-27-2019
     7. Notice date 3-6-2019
     8. Notice date 3-19-2019
     9. Certified Dismissal




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